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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:13-00090-05

TERRY MULLINS


          SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                    MEMORANDUM OPINION AND ORDER


           On January 5, 2016, the United States of America

appeared by John J. Frail, Assistant United States Attorney, and

the defendant, Terry Mullins, appeared in person and by his

counsel, Christian M. Capece, Federal Public Defender, for a

hearing on the petition on supervised release and amendments

thereto submitted by United States Probation Officer Justin L.

Gibson.   The defendant commenced a three-year term of supervised

release in this action on October 30, 2015, as more fully set

forth in the Judgment Including Sentence Under the Sentencing

Reform Act entered by the court on October 30, 2013.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

failed to report to the probation office within 72 hours of his

release from custody on October 30, 2015, inasmuch as he did not

report to the probation office until November 4, 2015; (2) the

defendant committed the state and local offense of grand larceny

inasmuch as on November 8, 2015, ten days after his release from

custody, he stole various items, the value of which was assessed

at $2,221, as evidenced by the defendant’s admission on the

record of the hearing that the government possesses sufficient

proof to prove the offense by a preponderance of the evidence;

(3) the defendant used and possessed controlled substances as

evidenced by the defendant’s admission to the probation officer

on November 4, 2015, that he had used methamphetamine; and a

positive urine specimen submitted by him on November 30, 2015,

for hydrocodone and hydromorphone for which he did not have a

prescription; and (4) the defendant failed to report for a urine

screen as instructed on November 20, 2015; all as admitted by

the defendant on the record of the hearing with the exception of


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(2) as set forth above and all as set forth in the petition on

supervised release and amendments thereto.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

SIX (6) MONTHS, to be followed by a term of thirty (30) months

of supervised release upon the standard conditions of supervised

release now in effect in this district by order entered June 22,

2007, and the further condition that the defendant not commit

another federal, state or local crime and the special condition
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that he participate fully in, and successfully complete, the

long-term residential addiction recovery program at Four Seasons

Recovery Center in Bluefield, West Virginia, for a period of 9

to 12 months, and follow the rules and regulations of the

facility.    If feasible, the defendant shall be transported

directly from his place of incarceration to Four Seasons

Recovery Center.      Once released from the program, the defendant

shall continue to participate in drug abuse counseling and

treatment as directed by the probation officer.


            The defendant was remanded to the custody of the

United States Marshal.


            The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:       January 11, 2016



                                         John T. Copenhaver, Jr.
                                         United States District Judge




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